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   7
                           UNITED STATES DISTRICT COURT
   8
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   9
  10
  11 JOHN DOE,                                     CASE NO. 2:21-cv-02803-RGK
                                                   (MARx)
  12                     Plaintiff,
                                                   REPLY IN FURTHER SUPPORT
  13               vs.                             OF EX PARTE APPLICATION FOR
  14 UNITED STATES OF AMERICA;                     TEMPORARY RESTRAINING
     TRACY L. WILKISON (OFFICIAL                   ORDER AND ORDER TO SHOW
  15 CAPACITY), KRISTI KOONS                       CAUSE RE: PRELIMINARY
     JOHNSON (OFFICIAL CAPACITY)
  16                                               INJUNCTION
              Defendants.
  17                                               Crtrm.: 850
  18                                               Assigned to Hon. R. Gary Klausner
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       3710685.1
            REPLY IN SUPPORT OF EX PARTE APPLICATION FOR TRO ENJOINING ILLEGAL SEARCH AND
                                                SEIZURE
Case 2:21-cv-02803-RGK-MAR Document 16 Filed 04/02/21 Page 2 of 3 Page ID #:128




   1                                           REPLY
   2         The Government does not dispute that it did not have a search warrant
   3 specifying individual boxes for search or seizure. The Government does not dispute
   4 that it took all of the contents of all of the boxes from U.S. Private Vaults. The
   5 Government does not dispute that it plans to require all property owners to disclose
   6 their identities to the Government. And, most importantly, the Government does not
   7 dispute that it will initiate a criminal investigation of every property owner who
   8 identifies himself or herself.1
   9         Plaintiff’s declarations, detailing his injury, are sufficient to establish
  10 standing. Moreover, the Government ignores the option, raised in Plaintiff’s
  11 moving papers, of appointing a Special Master or taint team to allow property
  12 owners to claim their property without requiring them to waive their Fifth
  13 Amendment rights. A Special Master could easily use whatever process the
  14 Government plans to use to return property, except it could do so without depriving
  15 Plaintiff of his Fifth Amendment rights. Specifically, though the Government is
  16 entitled to investigate whomever it pleases, it is not entitled to hold property hostage
  17 and use it to require hundreds of property owners to give the Government “leads”
  18 (i.e., their names or other identifying information) to aid that investigation.
  19         Lastly, the Government is careful to avoid any commitment to cease
  20 searching the seized boxes. Though it claims its inventory searches are complete, it
  21 very intentionally avoids saying that it will not conduct further searches. This
  22 careful omission, combined with the Government’s refusal to stipulate, is more than
  23 sufficient to establish an ongoing threat of further deprivation of Plaintiff’s rights.
  24 Plaintiff’s Application should be granted to guard against that threat.
  25
  26   1
          Note that the Indictment attached to the Government’s Opposition does not
  27 imply, let alone establish, that box holders in general, much less Plaintiff
  28 specifically, were involved in any kind of criminal activity.
     3710685.1
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           REPLY IN SUPPORT OF EX PARTE APPLICATION FOR TRO ENJOINING ILLEGAL SEARCH AND
                                               SEIZURE
Case 2:21-cv-02803-RGK-MAR Document 16 Filed 04/02/21 Page 3 of 3 Page ID #:129




   1
   2 DATED: April 2, 2021                  Respectfully submitted,
   3
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   4                                       Ashley D. Bowman
                                           Bird, Marella, Boxer, Wolpert, Nessim,
   5
                                           Drooks, Lincenberg & Rhow, P.C.
   6
   7                                       By:         /s/ Benjamin N. Gluck
   8                                                         Benjamin N. Gluck
   9                                             Attorneys for Plaintiff

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            REPLY IN SUPPORT OF EX PARTE APPLICATION FOR TRO ENJOINING ILLEGAL SEARCH AND
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